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                     UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF LOUISIANA

                                           )
AMY SANFORD,                               )     Civil Action No.:
                                           )
               Plaintiff,                  )
                                           )
                v.                         )
                                           )
BLUESTEM BRANDS, INC. d/b/a                )
FINGERHUT,                                 )
                                           )
               Defendant.                  )
                                           )



                COMPLAINT AND DEMAND FOR JURY TRIAL

      Plaintiff, AMY SANFORD (“Plaintiff”), by and through her attorneys, Scott,

Vicknair, Hair & Checki, LLC and Kimmel & Silverman, P.C., alleges the following

against BLUESTEM BRANDS, INC. d/b/a FINGERHUT (“Defendant”):

                                 INTRODUCTION

      1.       Plaintiff’s Complaint is based on the Telephone Consumer Protection

Act, 47 U.S.C. § 227, et seq. (“TCPA”).


                            JURISDICTION AND VENUE

      2.       This Court’s jurisdiction arises under 28 U.S.C. § 1331, which grants

this Court original jurisdiction of all civil actions arising under the laws of the United
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States. See Mims v. Arrow Fin. Services, LLC, 132 S. Ct. 740, 747, 181 L. Ed. 2d

881 (2012).

      3.       Defendant conducts business in the State of Louisiana therefore

personal jurisdiction is established.

      4.       Venue is proper pursuant to 28 U.S.C. § 1391(b)(2).

                                        PARTIES

      5.       Plaintiff is a natural person residing in Baton Rouge, Louisiana.

      6.       Plaintiff is a “person” as that term is defined by 47 U.S.C. § 153(39).

      7.       Defendant is a company with its principal place of business located at

7075 Flying Cloud Drive, Eden Prairie, Minnesota 55344.

      8.       Defendant is a “person” as that term is defined by 47 U.S.C. § 153(39).

      9.       Defendant acted through its agents, employees, officers, members,

directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,

representatives, and insurers.


                            FACTUAL ALLEGATIONS

      10.      Plaintiff has a cellular telephone number.

      11.      Plaintiff has only used this number as a cellular telephone number.

      12.      Beginning in or before June 2016 and continuing through May 2017,

Defendant called Plaintiff’s cellular telephone number repeatedly.
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      13.    Defendant called Plaintiff from telephone numbers including, but not

limited to, 866-625-7191 and 844-761-0813. The undersigned has confirmed that

these numbers belong to Defendant.

      14.    When contacting Plaintiff on her cellular telephone, Defendant used an

automatic telephone dialing system and/or pre-recorded or artificial voice.

      15.    Plaintiff knew Defendant was using an automatic telephone dialing

system and/or pre-recorded or artificial voice as calls would begin with a recorded

voice on the line before a live representative would come on the phone.

      16.    Defendant’s calls were not for emergency purposes.

      17.    In June 2016 or July 2016, shortly after calls started, Plaintiff first told

the Defendant to stop calling her.

      18.    After Plaintiff revoked consent, continued calls served no lawful

purpose and could only have been made for the purpose of harassing Plaintiff.

      19.    However, Defendant ignored Plaintiff’s request to stop calling and

continued to call her repeatedly through around May 2017.

      20.    Plaintiff found Defendant’s repeated calls to be frustrating, annoying,

harassing, invasive, and upsetting.

      21.    Upon information and belief, Defendant conducts business in a manner

which violates the Telephone Consumer Protection Act.
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                               COUNT I
                     DEFENDANT VIOLATED THE TCPA

      22.     Plaintiff incorporates the foregoing paragraphs as though the same were

set forth at length herein.

      23.     Defendant initiated automated calls to Plaintiff using an automatic

telephone dialing system and/or artificial or pre-recorded voice.

      24.     Defendant’s calls to Plaintiff were not made for “emergency purposes.”

      25.     After Defendant was told to stop calling, Defendant knew or should

have known it did not have consent to call and/or that any consent it thought it had

was revoked.

      26.     The acts and/or omissions of Defendant were done unfairly, unlawfully,

intentionally, deceptively, fraudulently, and absent bona fide error, lawful right,

legal defense, legal justification, or legal excuse.

      27.     As a result of the above violations of the TCPA, Plaintiff has suffered

the losses and damages as set forth above entitling Plaintiff to an award of statutory,

actual, and treble damages.



      WHEREFORE, Plaintiff, AMY SANFORD respectfully prays for judgment

as follows:

               a. All actual damages suffered pursuant to 47 U.S.C. § 227(b)(3)(A);
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               b. Statutory damages of $500.00 per violative telephone call pursuant

                      to 47 U.S.C. § 227(b)(3)(B);

               c. Treble damages of $1,500.00 per violative telephone call pursuant

                      to 47 U.S.C. § 227(b)(3);

               d. Injunctive relief pursuant to 47 U.S.C. § 227(b)(3);

               e. Any other relief deemed appropriate by this Honorable Court.




                              DEMAND FOR JURY TRIAL

       PLEASE TAKE NOTICE that Plaintiff AMY SANFORD, demands a jury

trial in this case.




Dated:        February 2, 2018             Respectfully submitted,

                                           By: /s/ Samuel J. Ford
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